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                                 UNITED STATES DISTRICT COURT
JEANNETTE J. CLACK                WESTERN DISTRICT OF TEXAS                                 PHILIP J. DEVLIN
  CLERK OF COURT                 727 East Cesar E. Chavez Blvd., Suite A500                  CHIEF DEPUTY
                                         San Antonio, Texas 78206


                                         September 28, 2021
    Courtney Hostetler, John Bonifaz,
    Ben Clements, and Ron Fein
    1320 Centre Street, Suite 405
    Newton, MA 02459

    RE: Civil Case No. SA21-CV-00920-XR

    Mi Familia Vota, et al vs. Greg Abbott, et al

    Dear Counsel:
    Our records indicate you are not admitted to practice in this Court. The Western District of Texas
    Local Court Rule AT-1(f)(1) states:
                       In General: An attorney who is licensed by the highest court of
                       a state or another federal district court, but who is not admitted
                       to practice before this court, may represent a party in this court
                       pro hac vice only by permission of the judge presiding. Unless
                       excused by the judge presiding, an attorney is ordinarily
                       required to apply for admission to the bar of this court.
    If you are representing a party, please submit a Motion requesting the Court's permission to
    appear in the above captioned case. If you wish to file an application to be admitted in the
    Western District of Texas, the application forms and the Local Rules for the Western District
    of Texas are available on our website www.txwd.uscourts.gov. If you are an attorney who
    maintains his or her office outside the Western District of Texas, the Judge may require you
    to designate local counsel. (Local Rule AT-2).
    If you have any questions do not hesitate to contact our office.
                                                  Sincerely,
                                                  JEANNETTE J. CLACK, CLERK

                                                  United States District Court


                                                  By:________________________________
                                                     Breanna Coldewey, Deputy Clerk
    cc: all counsel
